669 Case 2:03-Cr-20072-BB‘D Document 141 Filed 05/04/05 Page 1 of 3 Page|D 154
0 le,;»'; n-:_H j£\i m
UNITED STATES DISTRICT COURT FOR THE ""_-'“~' ' '

WESTERN DISTRICT OF TENNESSEE !`-`j?"~; f,,gM _~L} FH 2_
WESTERN DIVISION ' " ' 9 2

r~\ =-~. \ -~ l
‘ i_;l 1»;_,:?§9
1 =-" _

,.`_
;` [`_. !4

    

UNITED STATES OF AMERICA,

:\~'\
Plaintiff,
vs. \ CR. No. 03-20072
KENNETH CHALMERS,
Defendant.

 

NOTICE OF APPEAL

 

Notice is hereby given that Kenneth Chalmers, defendant, hereby appeals to the United
States Court of Appeals for the Sixth Circuit from the final judgment entered in this action on the

28“‘ day of April, 2005.

Respectfully submitted,

 

/L//

Case 2:03-Cr-20072-BBD Document 141 Filed 05/04/05 Page 2 of 3 Page|D 155

CERTIFICATE OF_ SERVICE

This is to certify that a copy of the foregoing Notice of Appeal has been forwarded to Mr.
Dan Newsorn, Assistant U.S. Attorney, 167 N. Main, Suite 800, Memphis, TN 38103, this
day Of May, 2005.

 

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 141 in
case 2:03-CR-20072 WaS distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

ENNESSEE

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.

50 N. Front St.
Ste. 800
1\/1emphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
1\/1emphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

